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                                                                            s/ Justin Stern
                                                                                       Complainant’s signature

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